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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

Fill in this information to identify your case:

 

 

 

Debtor 1 Benjamin Lamar Ivey
First Name Middle Name Last Name
[] Check if this is an amended plan.
Debtor 2 Sharon Lowe Ivey
(Spouse, if filing) First Name Middle Name Last Name

Case Number IS ~ lo ? ple

(If known)

 

 

CHAPTER 13 PLAN AND MOTION

[Pursuant to Fed. R. Bankr. P. 3015.1, the Southern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].

I, Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items.
If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be

ineffective if set out in the plan.

(a) This plan: contains nonstandard provisions. See paragraph 15 below.
XC) does not contain nonstandard provisions.

(b) This plan: & values the claim(s) that secures collateral. See paragraph 4(f) below.
(1) does not value claim(s) that secures collateral.

(c) This plan: [X] seeks to avoid a lien or security interest. See paragraph 8 below.
C] does not seek to avoid a lien or security interest.

Ze Plan Payments.
(a) The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee”) the sum of $475.00 per month for the applicable
commitment period of:

(If applicable include the following: These plan
payments will change to$ ————s monthly on

a minimum of 36 months. See 11 U.S.C. § 1325(b)(4). , 20) _.....)

LJ 60 months; or

(b) The payments under paragraph 2(a) shall be paid:

Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
Debtor’s(s’) employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following

percentages of the monthly plan payment:

& Debtor 1 100% O Debtor2 _ %

CJ Direct to the Trustee for the following reason(s):
LJ The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance, or

retirement.
LJ The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

(c) Additional Payments of $ (estimated amount) will be made on (anticipated date)

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from __ ____ (source, including income tax refunds).

2 Long-Term Debt Payments.

(a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be disbursed
by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied to postpetition
amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit payments that
are to be made by the Trustee which become due after the filing of the petition but before the month of the first payment
designated here will be added to the prepetition arrearage claim.

PAYMENTS TOBE MONTH OF FIRST

PRINCIPAL MADE BY POSTPETITION INITIAL
RESIDENCE (TRUSTEE OR PAYMENT TO MONTHLY
CREDITOR COLLATERAL Y/N) DEBTOR(S)) CREDITOR PAYMENT

(b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid in
full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage payments are
to be applied to prepetition amounts owed as evidenced by the allowed claim,

 

DESCRIPTION OF PRINCIPAL ESTIMATED AMOUNT INTEREST RATE ON
CREDITOR COLLATERAL RESIDENCE (Y/N) OF ARREARAGE ARREARAGE (if applicable)
4. Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated

otherwise:

(a) Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $4,000.00 .

(c) Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of
the plan as funds become available in the order specified by law.

(d) Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT
SRP Federal Credit Union Mercedes Motor Vehicle $18,091.00 5.5% Min. of $346.00

(e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. §
1325(a)). The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a

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purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within |
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in full under the plan with interest at the rate stated below:

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT

(f) Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a certificate of

 

 

 

service.
VALUATION OF

CREDITOR DESCRIPTION OF COLLATERAL SECURED CLAIM INTEREST RATE MONTHLY PAYMENT
Ist Franklin Financial Personal Property $-0- 0% $-0-
Corporation
Covington Credit of Georgia, Personal Property $-0- 0% $-0-
Inc.
Edwards Loan Co., Personal Property $-0- 0% $-0-
Washington, LLC
Lahr Enterprises, LLC dba Personal Property $-0- 0% $-0-
Wilkes Loan
Otis Heath Personal Property (Judgment) $-0- 0% $-0-
Security Finance of Georgia, Personal Property $-0- 0% $-0-
LLC (all accounts)
W. S. Badcock Corporation Personal Property $-0- 0% $-0-
Warehouse Home Furnishings Personal Property $-0- 0% $-0-
Distributors, Inc. dba Farmers
Furniture
World Finance Corporation of Personal Property $-0- 0% $-0-

Georgia (all accounts)

(g) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%
(1 withinterestat === % perannumor LC without interest:

(h) General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a _0 % dividend or a pro rata share of
$0, whichever is greater.

5. Executory Contracts.

(a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

DESCRIPTION OF PROPERTY/SERVICES ASSUMED/ MONTHLY DISBURSED BY TRUSTEE
CREDITOR AND CONTRACT REJECTED PAYMENT OR DEBTOR(S)
Watson & Knox Residential Lease Assumed $1,050.00 Debtors
Page 3 of 6

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(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CREDITOR ESTIMATED ARREARAGE
Watson & Knox $-0-

Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant

 

to 11 U.S.C. § 1326(a)(1) on allowed claims of the following creditors: (J Direct to the Creditor; or M To the Trustee.
CREDITOR ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
SRP Federal Credit Union $200.00
qe Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of
such claim identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to
the following claimant(s):
CLAIMANT ADDRESS
8. Lien Avoidance. Pursuantto 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the following
creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan shall be
served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of
service.
CREDITOR LIEN IDENTIFICATION (if known) PROPERTY
Ist Franklin Financial Corpoation Household Goods
Covington Credit of Georgia, Inc. Household Goods
Edwards Loan Co., Washington, LLC Household Goods
Lahr Enterprises, LLC dba Wilkes Loan Household Goods
Otis Heath Judgment Lien
Security Finance of Georgia, LLE Household Goods
World Finance Corporation of Georgia Household Goods
9, Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown
below upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11 U.S.C. §
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10.

12.

13.

14.

15.

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362(a) be terminated as to the collateral only and that the stay under 1] U.S.C. § 1301 be terminated in all respects. Any allowed
deficiency balance resulting from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph
4(h) of this plan if the creditor amends its previously-filed, timely claim within 180 days from entry of the order confirming this
plan or by such additional time as the creditor may be granted upon motion filed within that 1 80-day period.

CREDITOR DESCRIPTION OF COLLATERAL AMOUNT OF CLAIM SATISFIED

SRP Federal Credit Union BMW Motor Vehicle In full satisfaction of primary note secured
by BMW motor vehicle

Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by
11 U.S.C § 1325(a)(5).

Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. In
accordance with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure, objections to claims may be filed before or
after confirmation.

Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,
after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pursuant to Fed. R. Bankr. P. 3002.1(c) unless the Debtor’s(s’) plan is modified after the filing of the notice to provide

for payment of such fees, expenses, or charges.

Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13 plan
on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the Debtor(s)
seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to avoid a security
interest or lien (paragraph 8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected
creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014,

Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in

this plan are void.

a) UPON GRANT OF DISCHARGE IN THIS CASE, ALL SECURED CREDITORS BEING PAID
THROUGH THE PLAN SHALL PROMPTLY RELEASE ALL COLLATERAL HELD AS SECURITY ON
LOANS, AND SHALL PROMPTLY RELEASE AND/OR SATISFY ALL SECURITY DEEDS, SECURITY
AGREEMENTS, UCC FILINGS, JUDGMENT LIENS, TITLES, AND/OR ANY OTHER LIEN CLAIM OF
ANY KIND AGAINST PROPERTY OF THE DEBTOR. THIS PARAGRAPH SHALL IN NO WAY APPLY
TO MORTGAGES AND/OR OTHER SECURED DEBTS THAT ARE NOT PAID THROUGH THE
CHAPTER 13 PLAN.

b) ALL PAYMENTS MADE BY THE CHAPTER 13 TRUSTEE TO THE INTERNAL REVENUE
SERVICE AND/OR GEORGIA DEPARTMENT OF REVENUE, IF ANY, TO BE APPLIED FIRST TO
THE PRE-PETITION PRINCIPAL OBLIGATION.

c) FIRST OF THOMSON, INC. PAID DIRECT BY TIMOTHY IVEY ON NOTE SECURED BY LINCOLN

MOTOR VEHICLE.

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By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

putea: (9 [1 8) 14 A cs hy

Debtor] °°

 

 

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CERTIFICATE OF SERVICE

 

I hereby certify that I have served a copy of the within and foregoing

CHAPTER 13 PLAN AND MOTION upon the following parties via CM/ECF electronic mail:

Huon Le
(VIA ECF]

Office of the U. S. Trustee
[VIA ECF]

I hereby certify that I have served a copy of the within and foregoing
CHAPTER 13 PLAN AND MOTION by First Class Mail, placing same in the United States

Mail with proper postage affixed thereon, to the following addresses:

SEE ATTACHED EXHIBIT “A”

I hereby certify that I have served a copy of the within and foregoing
CHAPTER 13 PLAN AND MOTION on the following corporations, addressed to an Agent
or Officer, by First Class Mail, placing same in the United States Mail with

proper postage affixed thereon, to the following addresses:

18* Franklin Financial Corporation
Attn: Officer or Agent
P.O. Box 1409
Thomson, GA 30824-1409
(as shown on Exhibit “A”)

18° Franklin Financial Corporation
Attn: Ben Cheek, III, Registered Agent
135 East Tugalo Street
Toccoa, GA 30577

1** Franklin Financial Corporation
Attn: Officer or Agent
P.O. Box 880
Toccoa, GA 30577-0880

Covington Credit of Georgia, Inc.
Attn: CT Corporation, Registered Agent
289 S. Culver Street
Lawrenceville, GA 30046-4805
(as shown on Exhibit “A”)
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Covington Credit of Georgia, Inc.
Attn: Officer or Agent
1257 Washington Road
Thomson, GA 30824-7352
(as shown on Exhibit “A”)

Covington Credit of Georgia, Inc.
Attn: Officer or Agent
P.O. Box 1947
Greenville, SC 29602-1947
(as shown on Exhibit “A”)

Security Finance of Georgia, LLC
Attn: Officer or Agent
29 E. Robert Toombs Avenue
Washington, GA 30673
(as shown on Exhibit “A’”)

Security Finance of Georgia, LLC
Attn: Officer or Agent
P.O. Box 1893
Spartanburg, SC 29304-1893
(as shown on Exhibit “A”)

Security Finance of Georgia, LLC, Attn:
C T Corporation System, Registered Agent
289 S. Culver Street
Lawrenceville, GA 30046-4805
(as shown on Exhibit “A”)

W. S. Badcock Corporation
Attn: Officer or Agent
P.O. Box 724
Mulberry, FL 33860-0724
(as shown on Exhibit “A”)

Ws Sy Baeaeack Corporation, Attine © T
Corporation System, Registered Agent
289 S. Culver Street
Lawrenceville, GA 30046-4805
(as shown on Exhibit “A”)

Warehouse Home Furnishings Distributors, Inc.
dba Farmers Furniture
Attn: Ellen Sumner, Registered Agent
1851 Telfair Street
Dublin, GA 31021

Warehouse Home Furnishings Distributors, Inc.
dba Farmers Furniture
Attn: Officer or Agent
P.O. Box 1140
Dublin, GA 31040-1140

Warehouse Home Furnishings Distributors, Inc.
dba Farmers Furniture
Attn: Officer or Agent
1012 E. Robert Toombs Avenue
Washington, GA 30673
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World Finance Corporation of Georgia
Attn: Officer or Agent
406 Main Street
Thomson, GA 30824-1575
(as shown on Exhibit “A”)

World Finance Corporation of Georgia
Attn: Officer or Agent
P.O. Box 6429
Greenville, SC 29606-6429
(as shown on Exhibit “A”)

World Finance Corporation of Georgia
Attn: CT Corporation, Registered Agent
289 S. Culver Street
Lawrenceville, GA 30046-4805
(as shown on Exhibit “A”)

Edwards Loan Co., Washington, LLC
Attn: Officer or Agent
33 E. Robert Toombs Avenue
Washington, GA 30673
(as shown on Exhibit “A”)

Edwards Loan Co., Washington, LLC
Attn: James A. Walters, Registered Agent
718 Green Street
Gainesville, GA 30501-3322
(as shown on Exhibit “A”)

LAHR Enterprises, LLC DBA Wilkes Loan
Attn: Robin Lahr, Registered Agent
20 W. Robert Toombs Avenue
Washington, GA 30673
(as shown on Exhibit “A”)

I hereby certify that I have served a copy of the within and foregoing
CHAPTER 13 PLAN MOTION on the following insured depository institutions,

addressed to an Officer of the institution, by Certified Mail with proper postage

affixed thereon, to the following addresses:

N/A

This oe day of June, 2019. Jad AB

J¢hn W. Wills
torney for Debtor
Wills Law Firm, LLC
P.O. Box 1620
Thomson, GA 30824
706-595-8100
Case:19-10772-SDB
Label Matrix for local noticing
1130-1
Case 19-10772-SDB
Southern District of Georgia
Augusta
Tue Jun 18 11:47:30 EDT 2019

21ST CENTURY INSURANCE
C/O TRUE NORTH AR

9 COMMERCIAL BLVD
NOVATO CA 94949-6118

ALLIED INTERSTATE

3000 CORPORATE EXCHANGE DRIVE
5TH FLOOR

COLUMBUS OH 43231-7689

ALLTEL

BANKRUPTCY DEPT 1269 BSF03-B
1 ALLIED DR.

LITTLE ROCK AR 72202-2065

AMERICAN INFOSOURCE, LP
P.O, BOX 51178
LOS ANGELES CA 90051-5478

AVON PRODUCTS
425 HORIZON DRIVE
SUWANEE GA 30024-3105

(p) BANK OF AMERICA
PO BOX 982238
EL PASO TX 79998-2238

BENEFICIAL NATIONAL BANK
301 N. WALNUT STREET
WILMINGTON DE 19801-3964

(p)CAINE & WEINER COMPANY
12005 FORD ROAD 300
DALLAS TX 75234-7262

CAVALRY PORTFOLIO SERVICES
500 SUMMIT LAKE DRIVE
SUITE 400

VALHALLA NY 10595-2322

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1ST FRANKLIN FINANCIAL CORPORATION

ATIN: OFFICER OR AGENT
P.O, BOX 1409
THOMSON GA 30824-1409

AARON’S, INC.

ATIN: BANKRUPTCY DEPT
P.O. BOX 100039
KENNESAW GA 30156-9239

ALLIED INTERSTATE

435 FORD ROAD

SUITE 800

MINNEAPOLIS MN 55426-1066

AMERICAN INFOSOURCE, LP
ATTN: DEPARTMENT 1

P.O. BOX 4457

HOUSTON TX 77210-4457

AT&T BANKRUPTCY CENTER
P.O. BOX 769
ARLINGTON TX 76004-0769

AVON PRODUCTS

C/O SUNRISE CREDIT SERVICES, INC.
260 AIRPORT PLAZA, F.0. BOX 9100
FARMINGDALE NY 11735-9100

BELLSOUTH TELECOMMUNICATIONS, INC.

AT&T SERVICES, INC.
ONE AT&T WAY, ROOM 3A104
BEDMINSTER NJ 07921-2694

Benjamin Lamar Ivey
Sharon Lowe Ivey

606 Arnall Street
Thomson GA 30824-3031

CALIFORNIA SERVICE BUREAU/
TRUE NORTH AR

100 WOOD HOLLOW DRIVE 200
NOVATO CA 94945-1204

CNAC
1801 GORDON HIGHWAY
AUGUSTA GA 30904-5636

(p) 1ST FRANKLIN FINANCIAL CORPORATION
PO BOX 880
TOCCOA GA 30577-0880

AFNI, INC

1310 MARTIN LUTHER KING DRIVE
P.O. BOX 3517

BLOOMINGTON IL 61702-3517

ALLTEL
1001 TECHNOLOGY DRIVE
LITTLE ROCK AR 72223-5943

AMERICAN INFOSOURCE, LP
P.O. BOX 248838
OKLAHOMA CITY OK 73124-8838

AUTOMOTIVE CREDIT ACCEPTANCE, INC.
204 MARTIN LUTHER KING JR. BLVD
ELBERTON GA 30635-1523

BANK OF AMERICA
CORPORATE CENTER
100 NORTH TRYON STREET
CHARLOTTE NC 28255-0001

BENEFICIAL NATIONAL BANK
200 SOMERSE CORP. BLVD
BRIDGEWATER NJ 08807-2862

CADENCE BANK, FORMERLY STATE BANK,
FORMERLY FIRST BANK OF GEORGIA
110 HILL STREET

THOMSON GA 30824-2928

CAPITAL ONE BANK (USA), N.A.
P.O. BOX 71083
CHARLOTTE NC 28272-1083

COMCAST
105 RIVER SHOALS PKWY
AUGUSTA GA 30909-0235

te “
EXHIBIT
Case:19-10772-SDB
COMMONWEALTH FINANCIAL SYSTEMS

245 MAIN STREET
DICKSON CITY PA 18519-1641

COVINGTON CREDIT OF GEORGIA, INC.
ATTN: OFFICER OR AGENT

P.O. BOX 1947

GREENVILLE SC 29602-1947

CREDIT ONE BANK
P.O, BOX 98873
LAS VEGAS NV 89193-8873

DR. WILLIAMS
120 GORDON STREET
WASHINGTON GA 30673-1602

EDWARDS LOAN CO., WASHINGTON, LLC

ATTN: JAMES A. WALTERS, REGISTERED AGENT
718 GREEN STREET

GAINESVILLE GA 30501-3322

(p) FARMERS FURNITURE
ATTN CORPORATE CREDIT DEPT
PO BOX 1140

DUBLIN GA 31040-1140

FIRST PREMIER BANK
P.O. BOX 5524
SIOUX FALLS SD 57117-5524

GEORGIA POWER COMPANY
2500 PATRICK HENRY PARKWAY
BIN # 80002

MCDONOUGH GA 30253-4298

HSBC
P.O. BOX 5253
CAROL STREAM IL 60197-5253

INTERNAL REVENUE SERVICE
P.O, BOX 7346
PHILADELPHIA PA 19101-7346

COVINGTON CREDIT OF GEORGIA, INC.

ATIN: CT CORPORATION, REGISTERED AGENT
289 §, CULVER STREET

LAWRENCEVILLE GA 30046-4805

CREDIT MANAGEMENT LP
4200 INTERNATIONAL PKWY
CARROLLTON TX 75007-1912

(p) DIRECTV LLC

ATTN BANKRUPTCIES

PO BOX 6550

GREENWOOD VILLAGE CO 80155-6550

DRIVESTAR FINANCIAL II, INC. d/b/a CNAC
1285 CASSAT AVENUE
JACKSONVILLE FL 32205-7083

EMERGENCY COVERAGE CORPORATION
P.O, BOX 740023
CINCINNATI OH 45274-0023

FINGERHUT/WEBBANK
6250 RIDGEWOOD ROAD
SAINT CLOUD MN 56303-0820

FIRST-CITIZENS BANK & TRUST COMPANY
P.O, BOX 27131
RALEIGH NC 27611-7131

GEORGIA POWER COMPANY
56 ANNEX
ATLANTA GA 30396-0002

HSBC TAXPAYER FINANCIAL SERVICES
90 CHRISTIANA ROAD
NEW CASTLE DE 19720-3118

BenjapinfLamar Ivey
606 Arwall Street
Thomsgn AGA 30824-3031

Caughicae)

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COVINGTON CREDIT OF GEORGIA, INC.
ATTN: OFFICER OR AGENT

1257 WASHINGTON ROAD

THOMSON GA 30824-7352

CREDIT MANAGEMENT, LP
6080 TENNYSON PARKWAY
SUITE 100

PLANO TX 75024-6002

DJ ORTHOPEDICS, LLC

C/O AARGON AGENCY

8668 SPRING MOUNTAIN ROAD
LAS VEGAS NV 89117-4132

EDWARDS LOAN CO,, WASHINGTON, LLC
ATTN: OFFICER OR AGENT

33 E, ROBERT TOOMBS AVENUE
WASHINGTON GA 30673-1735

EXCEL LOCAL/LONG DISTANCE
C/O MIDLAND CREDIT MANAGEMENT
8875 AERO DRIVE, SUITE 200
SAN DIEGO CA 92123-2255

FIRST OF THOMSON, INC.
139 MAIN STREET
THOMSON GA 30824-2615

(p) GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION

ARCS BANKRUPTCY

1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202

HICKORY HILL EMERGENCY PHYSICIANS, LLC
1A BURTON HILLS BLVD
NASHVILLE TN 37215-6187

HSBC/TAX
P.O, BOX 15524
WILMINGTON DE 19850

Sharo je Ivey
606 Argall Street
Thomsén, 30824-3031

(dupvcale)
Case:19-10772-SDB
JOSEPH STEPHENS
PO BOX 1661
THOMSON GA 30824-5661

LANIER COLLECTION AGENCY
P.O. BOX 15519
SAVANNAH GA 31416-2219

MERCHANTS & MEDICAL ADJUST
321 MAIN STREET S.
TIFTON GA 31794-4897

MIDLAND FUNDING LLC
2365 NORTHSIDE DRIVE
SUITE 300

SAN DIEGO CA 92108-2709

NCEP, LLC
C/O QUANTUM3 GROUP
P.O, BOX 788

KIRKLAND WA 98083-0788

NCO FINANCIAL SERVICES
P.O, BOX 15391
WILMINGTON DE 19850-5391

OKINUS, INC.
157 WEST RAILROAD STREET
PELHAM GA 31779-1631

{p) PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

RAND CONFER, MD

C/O LANIER COLLECTION AGENCY
P.O. BOX 15519

SAVANNAH GA 31416-2219

SANTANDER CONSUMER USA INC.
P.O, BOX 560284
DALLAS TX 75356-0284

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LVNV FUNDING, LLC
C/O RESURGENT CAPITAL SERVICES
P.O, BOX 1269

GREENVILLE SC 29602-1269

MERCHANTS ADJUSTMENT SERVICE

P.O. BOX 7511
MOBILE AL 36670-0511

MOTORS ACCEPTANCE CORP.
P.O, BOX 468
COLUMBUS GA 31902-0468

NCO FIN/99
P.O. BOX 15636
WILMINGTON DE 19850-5636

NCO FINANCIAL SYSTEMS, INC.

P.O, BOX 41466
PHILADELPHIA PA 19101

OTIS HEATH
3483 ELAM CHURCH ROAD
NORWOOD GA 30821-7905

PREMIER BANKCARD/CHARTER
P.O. BOX 2208
VACAVILLE CA 95696-8208

REGIONS BANK

CONSUMER COLLECTIONS
P.O, BOX 10063
BIRMINGHAM AL 35202-0063

(p) SCANA AND SUBSIDIARIES
220 OPERATION WAY

MAIL CODE C 222

CAYCE SC 29033-3701

LAHR ENTERPRISES, LLC DBA WILKES LOAN
ATIN: ROBIN LAHR, REGISTERED AGENT
20 W. ROBERT TOOMBS AVENUE

WASHINGTON GA 30673-1662

 

MIDLAND CREDIT MANAGEMENT
2365 NORTHSIDE DRIVE
SUITE 300

SAN DIEGO CA 92108-2709

NATIONWIDE INSURANCE

C/O CREDIT COLLECTION SERVICES
P.O. BOX 607

NORWOOD MA 02062-0607

NCO FINANCIAL
P.O, BOX 41448
PHILADELPHIA PA 19101

NORTH AMERICAN CREDIT SERVICES
P.O. BOX 182221
CHATTANOOGA TN 37422-7221

 

PROTECT AMERICA, INC.
C/O ANDERSON CRENSHAW ASSOC.
12801 N. CENTRAL EXPWY
DALLAS TX 75243-1716

RESURGENT CAPITAL SERVICES
P.O. BOX 10587
GREENVILLE SC 29603-0587

SECURITY FINANCE OF GEORGIA, LLC
ATTN; OFFICER OR AGENT

29 E. ROBERT TOOMBS AVENUE
WASHINGTON GA 30673-1735
Case:19-10772-SDB
SECURITY FINANCE OF GEORGIA, LLC
ATTN: OFFICER OR AGENT
P.O, BOX 1893
SPARTANBURG SC 29304-1893

SOUTH STATE BANK

FORMERLY GEORGIA BANK & TRUST
P.O. BOX 15367

AUGUSTA GA 30919-5367

STELLAR RECOVERY, INC.
1327 HIGHWAY 2 W.

SUITE 100

KALISPELL MT 59901-3413

SUNCOM WIRELESS

C/O LHR, INC.

56 MAIN STREET
HAMBURG NY 14075-4905

THE BANK OF MISSOURI
216 WEST 2ND STREET
DIXON MO 65459-8048

THE CBE GROUP, INC,
P.O. BOX 126
WATERLOO IA 50704-0126

TURNER MOTOR COMPANY, INC.
204 MARTIN LUTHER KING, JR. BLVD
ELBERTON GA 30635-1523

UNIVERSITY HOSPITAL MCDUFFIE
P.O. BOX 1228
AUGUSTA GA 30903-1228

VERIZON WIRELESS
3 VERIZON PL
ALPHARETTA GA 30004-8510

WASHINGTON EMC

C/O CBA OF GEORGIA

P.O, BOX 579

MILLEDGEVILLE GA 31059-0579

289 §. CULVER STREET
LAWRENCEVILLE GA 30046-4805

(p) SPRINT NEXTEL CORRESPONDENCE
ATTN BANKRUPTCY DEPT

PO BOX 7949

OVERLAND PARK KS 66207-0949

STELLAR RECOVERY, INC.
1845 U.S. HIGHWAY 93 S.
KALISPELL MT 59901-5721

SUNCOM WIRELESS

C/O MILLENNIUM FINANCIAL GROUP
5770 NW EXPRESSWAY, SUITE 102
OKLAHOMA CITY OK 73132-5238

THE BANK OF MISSOURI/TOTAL CREDIT
5109 $. BROADBAND LANE
SIOUX FALLS SD 57108-2208

THE PROGRESSIVE CORPORATION
6300 WILSON MILLS ROAD
MAYFIELD VILLAGE OH 44143-2182

(p) UNIVERSITY HEALTH SERVICES INC
ATIN COLLECTIONS DIVISION

620 THIRTEENTH ST

AUGUSTA GA 30901-1008

UNIVERSITY MCDUFFIE CO. REGIONAL
MEDICAL CTR, INC,

620 13TH STREET

AUGUSTA GA 30901-1008

W. S, BADCOCK CORPORATION
ATTN: OFFICER OR AGENT
P.O, BOX 724

MULBERRY FL 33860-0724

WASHINGTON WILKES ER PHYSICIANS
P.O, BOX 42475
PHILADELPHIA PA 19101-2475

Doc#:7 Filed:06/18/19 Entered:06/18/19 14:11:26 Page:13 of 14
SECURITY FINANCE OF GEORGIA, LLC, ATTN:
C T CORPORATION SYSTEM, REGISTERED AGENT

SOUTH STATE BANK
520 GERVAIS STREET
COLUMBIA SC 29201-3071

(p} SRP FEDERAL CREDIT UNION
PO BOX 6730
NORTH AUGUSTA SC 29861-6730

SUNCOM WIRELESS

C/O ADVANCED RECOVERY SYSTEM
901 E, 8TH AVENUE, SUITE 206
KING OF PRUSSIA PA 19406-1354

SUNTRUST BANK
ATTN: SUPPORT SERVICES
P.O, BOX 85092
RICHMOND VA 23286-0001

THE CBE GROUP, INC

131 TOWER PARK DRIVE, SUITE 100
P.O. BOX 900

WATERLOO IA 50704-0900

THOMSON ORTHOPEDICS & SPORTS MEDICINE PC
P.O, BOX 720
THOMSON GA 30824-0720

UNIVERSITY HOSPITAL MCDUFFIE
2460 WASHINGTON ROAD
THOMSON GA 30824-6600

.

URGENT MD
3686 WHEELER ROAD
AUGUSTA GA 30909-6520

W. &, BADCOCK CORPORATION, ATIN: CT
CORPORATION SYSTEM, REGISTERED AGENT
289 §, CULVER STREET

LAWRENCEVILLE GA 30046-4805

WATSON & KNOX

RENTAL DIVISION

203 MAIN STREET
THOMSON GA 30824-2616
Case:19-10772-SDB
WELLS FARGO BANK
420 MONTGOMERY STREET
SAN FRANCISCO CA 94104-1298

WEST ASSET MANAGEMENT
7171 MERCY ROAD
OMAHA NE 68106-2620

WORLD FINANCE CORPORATION OF GEORGIA
ATTN: OFFICER OR AGENT

P.O. BOX 6429

GREENVILLE SC 29606-6429

Doc#:7 Filed:06/18/19

WELLS FARGO BANK
OVERDRAFT RECOVERY
P.O. BOX 50014
ROANOKE VA 24040-5014

WILLS MEMORIAL HOSPITAL
120 GORDON STREET
WASHINGTON GA 30673-1602

WORLD FINANCE CORPORATION OF GEORGIA

ATTN: CT CORPORATION, REGISTERED AGENT

289 $, CULVER STREET
LAWRENCEVILLE GA 30046-4805

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WELLS FARGO BANK

P.O. BOX 5058

MAC 96053-021
PORTLAND OR 97208-5058

WORLD FINANCE CORPORATION OF GEORGIA
ATTN: OFFICER OR AGENT

406 MAIN STREET

THOMSON GA 30824-1575

 

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

1ST FRANKLIN FINANCIAL CORPORATION
ATTN: BEN CHEEK, III, REGISTERED AGENT
135 EAST TUGALO STREET

TOCCOA GA 30577

(d) CAVALRY PORTFOLIO SERVICES
P.O. BOX 27288
TEMPE AZ 85285

FARMERS FURNITURE

ATTN: OFFICER OR AGENT
P.O, BOX 1140

DUBLIN GA 31040-1140

PORTFOLIO RECOVERY ASSOCIATES, LLC
P.O. BOX 41067
NORFOLK VA 23541-1067

SRP FEDERAL CREDIT UNION
P.O, BOX 6730
NORTH AUGUSTA SC 29861

End of Label Matrix

Mailable recipients 128
Bypassed recipients 9
Total 128

BANK OF AMERICA
P.O. BOX 982238
EL PASO TX 79998

DIRECTV
P.O. BOX 6550
GREENWOOD VILLAGE CO 80155

({d) FARMERS FURNITURE

ATTN: OFFICER OR AGENT

1012 E. ROBERT TOOMBS AVENUE
WASHINGTON GA 30673

SCANA ENERGY MARKETING
3340 PEACHTREE ROAD NE
SUITE 2150

ATLANTA GA 30326

UNIVERSITY HEALTH SERVICES
620 13TH STREET
AUGUSTA GA 30901

CAINE & WEINER
P.O. BOX 55848
SHERMAN OAKS CA 91413

(d) DIRECTV
P.O. BOX 6550
GREENWOOD VILLAGE CO 80155-6550

GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION; ARCS BANKRUPTCY
1800 CENTURY BLVD, NE, SUITE 9100
ATLANTA GA 30345-3202

SPRINT NEXTEL CORPORATION
ATTN: BANKRUPTCY DEPT

P. 0. BOX 7949

OVERLAND PARK KS 66207-0949

({d) WAREHOUSE HOME FURNISHINGS DISTRIBUTORS,
INC., ATTN: ELLEN SUMNER, REG. AGENT

1851 TELFAIR STREET

DUBLIN GA 31021
